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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                              )   Civil Action
PRESIDENT, INC.; et al.,                         )
                                                 )
                Plaintiffs,                      )
                                                 )   No.: 2-20-CV-966
       v.                                        )
                                                 )
KATHY BOOCKVAR; et al.,                          )
                                                 )
                Defendants.                      )   Judge J. Nicholas Ranjan

CERTIFICATE OF GOOD STANDING IN SUPPORT OF MOTION FOR ADMISSION
              PRO HAC VICE OF CHRISTINA L. HAUSNER

       1.       On July 13, 2020, I moved for admission to be admitted to appear and practice in

this Court as counsel pro hac vice for Defendant Lancaster County Board of Elections.

       2.       When the Motion was filed, I had requested but not yet received the Certificate of

Good Standing that must accompany pro hac vice motions.

       3.       On July 14, 2020, the Court conditionally granted the motion, subject to my

promptly submitting a Certificate of Good Standing upon receipt.

       4.       I have now received my certificate and I attach a copy as Exhibit “A.”

                                                     Respectfully submitted,

                                                     By /s/Christina L. Hausner/

                                                     Christina L. Hausner, Bar ID No. 32373
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Date: July 23, 2020                                  Attorney for Lancaster County Board of
                                                     Elections
